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4                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
5                                     AT SEATTLE
6
7      LEO'S WELDING AND
       FABRICATION LLC,
8                                                   CASE NO.
                                    Plaintiff(s),   2:25−cv−00625−LK
9                          v.
                                                    STANDING ORDER FOR ALL
10                                                  CIVIL CASES
       P/V HANNAH et al.,
11
12                                Defendant(s).

13         This Order sets forth the procedures that govern all civil cases assigned to this
14   Court. The procedures supplement the Federal Rules of Civil Procedure and Local Civil
15   Rules of the United States District Court for the Western District of Washington. In the
16   event there is an inconsistency between the Local Civil Rules and this Order, the terms of
17   this Order control.
18         The terms of this Order will have the force and effect of orders of the Court from
19   this date forward. If the case was previously assigned to a different District Judge,
20   these procedures replace those that have previously controlled, but only as to filings and
21   hearings from this date forward. Failure to comply with this Order may result in
22   sanctions.
23         ORDERED this Friday, April 25,2025.
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26                                             Lauren King
                                               United States District Judge
     STANDING ORDER FOR ALL CIVIL CASES
